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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
       -----------------------------------------------------------------   x
       DAWUD GASTON,
	  
	  
                                                     	                        COMPLAINT
	                                                   Plaintiff,                	  
	  
                                                                               Jury Trial Demanded
                                     -against-
	  
       CITY OF NEW YORK; and POLICE OFFICER Alexis
       Ponce and JOHN DOE individually and in their official
       capacities (the name John Doe being fictitious, as the true
       name is presently unknown)
	  
                                                      Defendants.
       -----------------------------------------------------------------   x
	  
                                              NATURE OF THE ACTION
	  
                1.       This is an action to recover money damages arising out of the violation of

       plaintiff’s rights under the Constitution.
	  
                                             JURISDICTION AND VENUE
	  
                2.       This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the Fourth

       and Fourteenth Amendments to the Constitution of the United States.
	  
                3.       The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331, 1343 and
	  
       1367(a).
	  
	  
                4.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).
	  
	  
                                                      JURY DEMAND
	  
                5.       Plaintiff demands a trial by jury in this action.
	  
                                                           PARTIES
	  
                6.       Plaintiff DAWUD GASTON (“plaintiff” or “Mr. GASTON”) is a resident of New

                York County in the City and State of New York
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                 7.      Defendant City of New York is a municipal corporation organized under the laws

       of the State of New York. It operates the NYPD, a department or agency of defendant City of

       New York responsible for the appointment, training, supervision, promotion and discipline of

       police officers and supervisory police officers, including the individually named defendants

       herein.

                 8.      At all times relevant defendant Alexis Ponce and John Doe were police officers,

       detectives or supervisors employed by the NYPD. Plaintiff does not know the real names and

       shield numbers of defendant John Doe.

                 9.      At all times relevant herein, defendants Alexis Ponce and John Doe were acting

       as agents, servants and employees of defendant City of New York and the NYPD. Defendants

       Alexis Ponce and John Doe are sued in their individual and official capacities.

                 10.     At all times relevant herein, all individual defendants were acting under color of

       state law.

                                            STATEMENT OF FACTS
	  
                 11.    At approximately 6:42 p.m. on November 30, 2013, plaintiff was lawfully within
	  
       the premises of 251 E. 3rd Street, New York, NY.
	  
                 12.    Plaintiff was visiting his great Aunt, who is disabled and requires his care.

                 13.    Plaintiff’s great Aunt sent Plaintiff to the store to buy her provisions.
	  
                 14.    Upon Plaintiff’s return from the store, Officer Alexis Ponce and an unidentified

New York City Police Officer John Doe, stopped and proceeded to interrogate Plaintiff.

                  15.   Plaintiff told Defendants that his Aunt was sick, waiting for him to return.
	  
                 16.    Notwithstanding Plaintiff’s explanations, the Officers restrained plaintiff in

       handcuffs and proceeded to arrest him – steps from his great Aunt’s apartment.
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                 17.   The officers had no probable cause to believe that plaintiff had committed any

       crimes or offenses.

                 18.   The officers transported plaintiff to a police precinct.
	  
                 19.   At the precinct, the officers questioned plaintiff.
	  
                 20.   Plaintiff provided the officers with information, but the officers were dissatisfied.
	  
                 21.   From the precinct, plaintiff was transported to central booking.
	  
                 22.   Plaintiff was released after spending nearly fifteen hours in custody.

                 23.   After appearing in Court approximately three times, the District Attorney’s
	  
       Office dismissed this case.

                 24.   Plaintiff suffered damage as a result of defendants’ actions.            Plaintiff was

       deprived of his liberty, suffered emotional distress, mental anguish, fear, pain, bodily injury,

       anxiety, embarrassment, humiliation, and damage to his reputation.

                                                 FIRST CLAIM
                                                 42 U.S.C. § 1983

                 25.   Plaintiff repeats and re-alleges each and every allegation as if fully set forth

       herein.

                 26.   Defendants, by their conduct toward plaintiffs alleged herein, violated plaintiff’s

       rights guaranteed by 42 U.S.C. § 1983, the Fourth, Fifth and Fourteenth Amendments to the

       Constitution of the United States.

                 27.   As a direct and proximate result of this unlawful conduct, Plaintiff sustained the

       damages hereinbefore alleged.

                                               SECOND CLAIM
                                            Unlawful Stop and Search
	  
                 28.   Plaintiff repeats and realleges each and every allegation as if fully set forth herein.
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              29.     Defendants violated the Fourth and Fourteenth Amendments because they

       stopped and searched plaintiff without reasonable suspicion.
	  
              30.     As a direct and proximate result of this unlawful conduct, plaintiff sustained the

       damages herein before alleged.
	  
                                                THIRD CLAIM
                                                 False Arrest
	  
              31.     Plaintiff repeats and realleges each and every allegation as if fully set forth herein.
	  
              32.     Defendants violated the Fourth and Fourteenth Amendments because they

       arrested plaintiff without probable cause.

              33.      As a direct and proximate result of this unlawful conduct, Plaintiff sustained the

       damages hereinbefore alleged.

                                               FOURTH CLAIM
                                              Failure To Intervene
	  
              34.     Plaintiff repeats and realleges each and every allegation as if fully set forth herein.
	  
              35.        Those defendants that were present but did not actively participate in the

       aforementioned unlawful conduct observed such conduct, had an opportunity prevent such

       conduct, had a duty to intervene and prevent such conduct and failed to intervene.

              36.     Accordingly, the defendants who failed to intervene violated the First, Fourth,

       Fifth And Fourteenth Amendments.
	  
              37.     As a direct and proximate result of this unlawful conduct, Plaintiff sustained the

       damages hereinbefore alleged.
	  
                                             FIFTH CLAIM
                                Denial Of Constitutional Right To Fair Trial
	  
              38.     Plaintiff repeats and realleges each and every allegation as if fully set forth herein.
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               39.     The individual defendants created false evidence against Plaintiff.
	  
	  
               40.     The individual defendants forwarded false evidence to prosecutors in the New

                York County District Attorney’s office.
	  
	  
               41.         In creating false evidence against Plaintiff, and in forwarding false information to

       prosecutors, the individual defendants violated Plaintiff’s constitutional right to a fair trial under

       the Due Process Clause of the Fifth and Fourteenth Amendments of the United States

       Constitution.
	  
               42.         As a direct and proximate result of this unlawful conduct, Plaintiff sustained the

       damages hereinbefore alleged.
	  
                                                   SIXTH CLAIM
                                              Malicious Abuse of Process
	  
               56.     Plaintiff repeats and realleges each and every allegation as if fully set forth herein.
	  
               57.     The individual defendants issued legal process to place plaintiff under arrest on or

       about on November 30, 2013.

               58.     The Municipal Defendants arrested plaintiff in order to obtain collateral

       objectives outside the legitimate ends of the legal process.

               59.     The Municipal Defendants acted with intent to do harm to plaintiff without excuse

       or justification.

               60.     As a direct and proximate result of this unlawful conduct, plaintiff sustained, inter

       alia, loss of liberty, loss of earnings, emotional distress, mental anguish, shock, fright,

       apprehension, embarrassment, humiliation, and deprivation of his constitutional rights, in

       addition to the damages hereinbefore alleged.
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                                             SEVENTH CLAIM
                                               Monell Claim
	  
               61.    The acts complained of were carried out by the aforementioned defendants in

       their capacities as police officers and officials pursuant to customs, policies, usages, practices,

       procedures and rules of the City and NYPD, all under the supervision of ranking officers of the

       NYPD.
	  
               62.    The aforementioned customs, practices, procedures and rules of the City and

       NYPD include, but are not limited to: 1) arresting persons known to be innocent in order to meet

       “productivity goals”; 2) falsely swearing out criminal complaints and/or lying and committing

       perjury during sworn testimony to protect other officers and meet productivity goals; 3) failing to

       supervise, train, instruct and discipline police officers thereby encouraging their misconduct and

       exhibiting deliberate indifference towards the constitutional rights of persons within the officers’

       jurisdiction; 4) discouraging police officers from reporting the corrupt or unlawful acts of other

       officers; 5) retaliating against officers who report police misconduct; and 6) failing to intervene

       to prevent the above-mentioned practices when they reasonably could have been prevented with

       proper supervision.
	  
               63.    At the time of the aforementioned constitutional violations, the City and NYPD

       were and had been on notice of such unconstitutional conduct, customs, and de facto policies,

       such that the failure of the City and NYPD to take appropriate remedial action amounted to

       deliberate indifference to the constitutional rights of persons with whom the police come in

       contact. In light of the extensive pattern of well-settled, pervasive customs and policies causing

       constitutional violations, documented in part infra, the need for more effective supervision and
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       other remedial measures was patently obvious, but the City and NYPD made no meaningful

       attempt to prevent future constitutional violations.
	  
              64.       The existence of aforesaid unconstitutional customs and policies may be inferred

       from repeated occurrences of similar wrongful conduct, as documented by the following civil

       rights actions and parallel prosecutions of police officers:
	  
                    a. Schoolcraft v. City of New York, 10-CV-6005 (RWS) (S.D.N.Y)(police
                       officer who exposed a precinct’s polices and practices of illegal quotas for
                       the issuance of summonses and arrests, falsifying evidence and suborning
                       perjury alleges he was arrested and committed to a psychiatric facility in
                       retaliation for exposing these practices and customs);
	  
                    b. Long v. City of New York, 09-CV-6099 (AJK)(S.D.N.Y); People v.
                       Pagan, 6416-2008 (Sup. Ct. N.Y. Co.)(officer swears out a false complaint
                       and is convicted of falsifying police records);
	  
                    c. Taylor-Mickens    v.     City     of     New     York,     09-CV-7923
                                                            th
                       (RWS)(S.D.N.Y)(police officers at 24 precinct issue four summonses to
                       a woman in retaliation for her lodging a complaint with the Civilian
                       Complaint review Board against the precinct);
	  
                    d. Lin v. City of New York, 10-CV-1936 (PGG) (S.D.N.Y) (officers arrest a
                       person lawfully photographing an arrest of a bicyclist in Times Square and
                       swear out criminal complaints that are contradicted by video evidence);
	  
                    e. Colon v. City of New York, 9-CV-0008 (JBW)(E.D.N.Y) (in an Order
                       dated November 29, 2009 denying the City’s motion to dismiss on
                       Iqbal/Twombley grounds, wherein the police officers at issued were and
                       prosecuted for falsifying evidence, the Honorable Jack B. Weinstein
                       wrote:
	  
                               ‘Informal inquiry by the court and among the judges of
                               this court, as well as knowledge of cases in other federal
                               and state courts, has revealed anecdotal evidence of
                               repeated, widespread falsification by arresting police
                               officers of the New York City Police Department.
                               Despite numerous inquiries by commissions and strong
                               reported efforts by the present administration—through
                               selection of candidates for the police force stressing
                               academic and other qualifications, serious training to
                               avoid constitutional violations, and strong disciplinary
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                     action within the department—there is some evidence of
                     an attitude among officers that is sufficiently widespread
                     to constitute a custom or policy by the city approving
                     illegal conduct of the kind now charged.’
 	  
         f. People v. Arbeedy, 6314-2008 (Sup. Ct. Kings Co.) (NYPD narcotics
            detective found guilty planting drugs on two innocent civilians;
            former undercover NYPD narcotics officer, Steve Anderson, testified
            that fellow narcotics officers routinely maintained a stash of narcotics
            to plant on innocent civilians in order to help those officers meet
            arrest quotas; Mr. Anderson testified concerning the NYPD’s practice
            of “attaching bodies” to the narcotics to make baseless arrests stating:
            “It was something I was seeing a lot of, whether it was from
            supervisors or undercovers and even investigators. Seeing it so much,
            it’s almost like you have no emotion with it. The mentality was that
            they attach bodies to it, they’re going to be out of jail tomorrow
            anyway, nothing is going to happen to them anyway. That kind of
            came to me and I accepted it – being around so long, and being an
            undercover”; The presiding judge, Justice Reichbach, stated “Having
            been a judge for 20 years, I thought I was not naïve regarding the
            reality of narcotics enforcement. But even the Court was shocked, not
            only by the seeming pervasive scope of the misconduct, but even
            more distressingly by the seeming casualness by which such conduct
            is employed.”);
 	  
         g. Bryant v. City of New York, 22011/2007 (Sup. Ct. Kings Co.)(Jury
            declares that NYPD officers acted pursuant to a City policy regarding the
            number of arrests officers were expected to make that violated plaintiff’s
            constitutional rights and contributed to her arrest);
 	  
         h. Williams v. City of New York, 06-CV-6601 (NGG) (E.D.N.Y.)(officers
            arrest plaintiff during a “vertical patrol” of a public housing project
            despite evidence that he had a legitimate reason to be on premises);
 	  
         i.   MacNamara v. City of New York, 04-CV-9216(RJS)(JCF) (S.D.N.Y)
              (evidence of perjured sworn statements systematically provided by
              officers to attempt to cover up or justify unlawful mass arrests of
              approximately 1800 people has been and continues to be developed in the
              consolidated litigation arising out of the 2004 Republican National
              Convention);
 	  
        j.    McMillan v. City of New York, 04-cv-3990 (FB)(RML)
              (E.D.N.Y.)(officers fabricated evidence against an African-American man
              in Kings County and initiated drug charges against him, despite an
              absence of an quantum of suspicion);
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                   k. Avent v. City of New York, 04-CV-2451 (CBA) (CL) (E.D.N.Y.)(same);
	  
                   l.   Smith v. City of New York, 04-CV-1045 (RLM) (E.D.N.Y.) (same);
	  
                   m. Powers v. City of New York, 04-CV-2246 (NGG) (E.D.N.Y.)(police
                      officer alleges unlawful retaliation by other police officers after testifying
                      about corruption in the NYPD);
	  
                   n. Nonneman        v. City of New York, 04-CV-10131 (JSR)(AJP)
                      (S.D.N.Y.)(former NYPD lieutenant alleging retaliatory demotion and
                      early retirement after reporting a fellow officer to IAB and CCRB for the
                      officer’s suspicionless, racially-motivated stop-and-frisk of a group of
                      Hispanic youths);
	  
                   o. Richardson v. City of New York, 02-CV-3651 (JG)(CLP)
                      (E.D.N.Y.)(officers fabricated evidence including knowingly false sworn
                      complaints, against an African-American man in Kings County and
                      initiated drug charges against him, despite an absence of any quantum of
                      suspicion);
	  
                   p. Barry v. City of New York, 01-CV-10627 (CBM) (S.D.N.Y.)(triable issue
                      of fact where NYPD sergeant alleged retaliatory demotion and
                      disciplinary charges in response to sergeant’s allegations of corruption
                      within her unit and alleged the NYPD had an “unwritten but persuasive
                      custom of punishing officers who speak out about police misconduct and
                      encouraging, if not facilitating, silence among officers”);
	  
                   q. White-Ruiz v. City of New York, 93-CV-7233 (DLC) (MHD), 983
                      F.Supp. 365, 380 (S.D.N.Y., 1997)(holding that the NYPD had an
                      “unwritten policy or practice of encouraging or at least tolerating a pattern
                      of harassment directed at officers who exposed instances of police
                      corruption”); and
	  
                   r. Ariza v. City of New York, 93-CV-5287 (CPS), 1996 U.S. Dist. Lexis
                      20250 at 14(E.D.N.Y.)(police officer alleges retaliatory duty assignments
                      and harassment in response to his allegations about a racially-
                      discriminatory workplace; on motion for summary judgment, the Court
                      held that the police officer had established proof of both a widespread
                      usage of policy to regulate against police officers who exposed police
                      misconduct and a failure to train in the police department).
	  
             65.        The existence of the aforesaid unconstitutional customs and practices, specifically

       with regard to the practice or custom of officers lying under oath, falsely swearing out
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       criminal complaints or otherwise falsifying or fabricating evidence, are further evidenced,

       inter alia, by the following:
	  
                      a. The Mollen Commission concluded that police perjury and falsification of official
                         records is probably the most common form of police corruption facing the
                         criminal justice system. It concluded:
	  

                                   Regardless of the motives behind police falsifications, what is
                                   particularly troublesome about this practice is that it is widely
                                   tolerated by corrupt and honest officers alike, as well as their
                                   superiors. Corrupt and honest officers told us that their supervisors
                                   knew or should have known about falsified versions of searches and
                                   arrests and never questioned them.1
	  

                                   {…}
	  
	  
	  
                                   What breeds this tolerance is deep-rooted perception among many
                                   officers of all ranks within the Department that there is nothing
                                   really wrong with compromising the facts to fight crime in the real
                                   world.      Simply put, despite devastating consequences of police
                                   falsifications, there is a persistent belief among officers that it is
                                   necessary and justified, even if it is unlawful. As one dedicated
                                   officer put it, police officers often view falsification as, to use his
                                   words, “doing God’s work” – doing whatever it takes to get the
                                   suspected criminal off the streets. This is so entrenched, especially
                                   in high-crime precincts, that when investigators confronted one
                                   recently arrested officer with evidence of perjury, he asked in
                                   disbelief, “What’s wrong with that? They’re guilty.”2
	  

                      b. In June 2011, in the case in New York County Supreme Court entitled People v.
                         William Eiserman (Ind. No. 2999-2010), NYPD Sergeant William Eiseman pled
                         guilty to perjury and falsifying police records, “admit[ing] to faking a marijuana
                         case against one man and cocaine-related charges against another – and training
                         Velasquez [officers] to falsify paperwork to sidestep legal safeguards.” Supreme
                         Court Justice Juan Merchan commented that Sgt. Eisenman’s admissions “paint a
                         picture of a police officer who has challenged and undermined the integrity of the
                         entire system we have here.”3
	  

                      c. In late 2009, a former NYPD officer in the Bronx, Pedro Corniel, was charged
                         with perjury for claiming to have caught a burglar “red-handed” when, in fact,
	  
	  
       1
           Mollen Commision report, p.36
       2
           Mollen Commission Report, pp 40-41.
       3
         Melissa Grace, NYPD Sgt. William Eiseman Pleads Guilty to Lying Under Oath in Plea Deal, Daily News, June 27, 2011,
       available at http://www.nydailynews.com/news/crime/nypd-sgt-william-eiseman-pleads-guilty-lying-oath-plea-deal-
       article-1.129288
	  
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                          two other officers had made the arrest and handed the arrest off to Corniel. The
                          suspect was released.4 Moreover,
	  

                                    Prosecutors and NYPD Internal Affairs probers have
                                    identified as many as two dozen cases in the past year in
                                    which cops allegedly made false statements involving routine
                                    arrests when the truth would have served them just as well.
	  

                                    That is a significant increase over previous years, sources said.
                                    “In the past, we’d find this happening once or twice a year,
                                    and now there are a bunch of them,” said one law-enforcement
                                    official.
	  

                                    What has authorities particularly troubled is that officers
                                    historically lied to cover up more serious corruption, such as
                                    the cadre of Brooklyn narcotics cops caught stealing drugs
                                    from dealers and masking their thievery by filing false reports
                                    about what they had seized.
	  

                                    But internal probers are now finding that officers appear
                                    willing to take insidious shortcuts and lie on arrest reports
                                    when they are processing even routine collars, such as grand
                                    larceny, burglaries and robberies, sources told The Post.
	  
                                    Their reasons could range from trying to cut down on
                                    paperwork to being lazy when filing arrest and incident
                                    reports.5
	  
                d.        In 2007, former NYPD Officer Dennis Kim admitted to accepting money and
                          sexual favors from the proprietor of a brothel in Queens County in exchange for
                          protecting that brothel. Mr. Kim was convicted of those offenses. The 109th
                          precinct of the NYPD, which used to be under Mr. Kim’s command, is also under
                          investigation by the United States Attorney’s Office for “planting drugs on
                          suspects and stealing cash during gambling raids.” The 109th precinct is believed
                          to be involved in a practice known as “flaking” wherein police officers plant
                          drugs on suspects in order to bring legitimacy to the arrest. According to the
                          Assistant United States Attorney Monica Evans, members of the 109th Precinct
                          “maintained a small stash of drugs in an Altoids tin for this purpose.”6
                e.        In December 2009, two officers from the 81st Precinct in Brooklyn arrested and
                          falsely swore out charges against an undercover officer from Internal Affairs
                          Bureau. As explained in the New York Post:
	  
	  
	  
       4
         Murray Weiss, NYPD in a Liar Storm, N.Y. Post, Oct. 26, 2009 available at
       http://www.nypost.com/p/news/local/nypd_in_a_liar_storm_qazMBEm3UNJVogv4Ndeqcl.
       5
         Id.
       6
         John Marzulli, Claims of Corruption in Queens Precinct Put precinct Crooked Cop's Sentencing on Hold, N.Y. Daily News, June
       20, 2008, available at http://www.nydailynews.com/news/crime/claims-corruption-queens-precinct-put-crooked-
       sentencing-hold-article-1.296352.
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                                      The officers were snared in a sting by Internal Affairs in
                                      December when they were told to keep an eye out for people
                                      selling untaxed cigarettes in their precinct.
	  

                                      Sometime later, they saw a man hanging out on a corner in the
                                      neighborhood and found that he was carrying packs of knock-
                                      off smokes.
	  

                                      [Sgt. Raymond] Stukes, 45, and [Officer Hector] Tirado, 30
                                      cuffed him, but they claimed that they had seen him selling the
                                      bogus butts to two people, according to sources.
	  

                                      Little did the hapless cops know that the man in their custody
                                      was an undercover corruption investigator and that the whole
                                      incident was caught on video.
	  

                                      To complete ruse, the undercover cop was processed at the
                                      station house so as not to tip off Stukes and Tirado about the
                                      sting…
	  
	  
                                      [P]olice sources said [this action] stem[s] from precinct
                                      commanders caving to the pressure of top brass to
                                      make themselves look better.
	  
                                      “There’s pressure on the cops from the bosses and they’re
                                      getting pressured from headquarters,” a police source told The
                                      Post.
	  
	  
                                      The officers were indicted for felony perjury, filing a false report and
                                                                 7
                                      filing a false instrument.
	  
                 f.        In early 2010, the City settled a civil rights lawsuit wherein one Officer
                           Sean. Spence falsely arrested and accused a 41-year-old grandmother of
                           prostitution, promising to pay the woman $35,000. In Court documents, Caroline
                           Chen, the attorney representing the City in the case, admitted: "Officer Spencer
                           falsely reported to the assistant district attorney that he saw [the plaintiff]
                           beckon to three male passersby and that he was aware that plaintiff was
                           previously arrested for [prostitution] when the plaintiff had never been arrested
                           for this offense.”8
	  

                 g.        Separate grand jury investigations into drug-related police corruption in the
                           Bronx; and Manhattan revealed that more than a dozen officers had been
                           breaking into drug dealers’ apartments, stealing and then selling their drugs
	  
	  
       7
        Id.
       8
        John Marzulli, Brooklyn cops charged with barging into sting operation, arresting a fellow officer, N.Y. Daily News July 30, 2010,
       available at http://www.nydailynews.com/ny_loca1120l0/07/30/2010-07-
       30_brooklyn_cops_charged_with_barging_into_sting_operation_arresting_a_fellow_offic.html.

	  
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                          and perjuring themselves by filing false arrest reports. District attorneys and
                          their assistants interviewed during a four-month investigation by New York
                          Newsday said they believe those two grand · jury investigations - in the
                          4 6 t h Precinct in the University Heights section of the Bronx and the 34th
                          Precinct- are not isolated instances. They say the investigations reflect a
                          larger, broader problem w i t h i n the NYPD that its top officials seem unable or
                          unwilling to acknowledge. 9
	  
	  
	  
                66.       Furthermore, the existence of the aforesaid unconstitutional customs and policies,

       specifically with regard to "productivity goals," may be further inferred from the following:
	  
                a.        Deputy Commissioner Paul J. Browne has repeatedly admitted that NYPD
                          commanders are permitted to set "productivity goals."10
	  

                b.        An NYPD transit lieutenant was captured on tape telling officers to make more
                          arrests to meet a captain's order and do more work if they want overtime
                          assignments. "All they care about is ... summonses and arrests and 250s," Lt.
                          Janice Williams said, using police jargon for the NYPD Stop, Question and Frisk
                          reports. She added, "'The bottom line is everybody's individual activity is being
                          looked at.'' Later in the recording made during a roll call in 2010 at Transit
                          District 34 in Coney Island - she said only officers with "good productivity" will
                          get the opportunity to work overtime. She also said Capt. James Sheerin wanted
                          every officer to make at least one arrest per month - up from the previous order of
                          one every three months - because crime had spiked and arrest totals were lower
                          than other transit districts. "He wants everyone to get in the mindset that there's no
                          more collar a quarter," Williams said.11
	  

                c.        NYPD Officer Adil Polanco has asserted that his command, the 41st Precinct,
                          regularly requires officers to make at least "one arrest and twenty summonses”
                          per month. P.O. Polanco's allegations were confirmed by an audiotape obtained
                          by the media. The contents of the tape reveal that these quotas are enforced
                          through coercion and threats of job loss; to wit, a patrol supervisor at the 41st
                          Precinct is overheard saying: "If you think one and 20 is breaking your balls,
                          guess what you'll be doing. You're gong (sic) to be doing a lot more, a lot more
                          than what they're saying." The tape also reveals that another patrol supervisor
                          chimed in and told the officers: "next week, 25 and one, 35 and one, and until you
	  
	  
	  
	  
       10
          Jim Hoffer NYPD Officer claims pressure to make arrests WABC·TV Eyewitness News, March 22010, available at
       http:J/abclocal.go.com/Wabc/story?section=news/investigators&id=73053S6         ("Police Officers like others who
       receive compensation are provided productivity goals and they are expected to work").
	  
	  
       11
         Rocco Parascandola, NYPD Lt. Janice Williams captured on tape pushing for more busts but brass says there's no quotas, N.Y.
       Daily News, March 3, 2011.
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                           decide to quit this job and go to work at Pizza Hut, this is what you're going to be
                           doing till (sic) then."12
	  
                 d.        The New York Daily News obtained and published two internal memos which
                           were posted inside the roll-call room at the NYPD's 77th Precinct. The memos
                           specifically instructed officers about the "number of tickets to give drivers for cell
                           phone, seat belt, double-parking, bus stop, tinted windows and truck route
                           violations" that they were expected to issue. The memos remained posted for
                           several weeks inside the roll-call room until the media began inquiring. 13
	  
                 e.
                           Responding to a query from a civilian who was cited on consecutive days in
                           November of 2009 for allegedly occupying more than one seat on the New York
                           City subway, the officer responded: ''Recently we've been told to write tickets
                           instead of give warnings for this type of thing." The officer explained that they
                           needed to meet quotas. 14
	  
                 f.        In December of 2010 and in response to the pressure from their supervisors to
                           issue baseless summonses pursuant to the policy and practice of quotas, police
                           officers at the 79th Precinct considered organizing a so-called "daylong summons
                           boycott.” As one officer at the precinct explained, "Nobody feels this is right,
                           asking us to write summonses just to meet a quota."15
                 g.        In response to the planned summons-boycott at the 79th Precinct on December 13,
                           2010, Deputy Chief Michael Marino marched into the precinct at roll call with a
                           deputy inspector and read officers the riot act. "Just try it," a police source quoted
                           Marino as saying. "I'll come down here and make sure you write them." Marino
                           also vowed to transfer people, like he did when he was the commanding officer of
                           the 75th Precinct in East New York.16
	  
                 h.        Capt. Alex Perez, the second in command at the NYPD's 8151 Precinct, testified
                           in a civil matter before a Brooklyn Supreme Court jury that officers are likely to
                           get poor performance ratings if they have few arrests, conceding that that arrest
                           numbers are a factor in evaluating an officer's performance.17 Ultimately, the jury
                           in that case judged that the police and a policy "regarding the number of arrests
	  
	  
	  
	  
	  
       12
          Id.
       13
          James Fanelli, Cops at Brooklyn’s crime-ridden 77th Precinct told to meet quotas for moving violations, memos say,
       N.Y. Daily News, Nov. 8, 2010.
       14
          Tom Namako and Kirsten Fleming, Nightime Riders in Big Sit Fit, The New York Post. Decembcr 26, 2009, available at
       http://www.nypost.com/p/news/11/space_hogs_lapped_on_empty_subways.
       15
          Rocco Parascandola, Irate cops at the 79th Precinct in Bedford-Stuyvesant threaten boycott over quotas, N.Y. Daily News, Dec. 12,
       2010, available at http://www.nydailynews.com/news/12_bklyn_cops_threaten_tixwriting_boycott.
       16
          Rocco Parascandola, Deputy Chief Michael Marino threatens cops at the 79'h Precinct who want to go on summons strike, N.Y.
       Daily     News,     Dec.     15,2010,      available      at    http://www.nydailynews.com/ny_local/2010/12/15/2010-12-
       15_summons_strike_i_dare_ya_deputy.html.
       17
          William J. Gorta, Brooklyn Mom's Suit. Targets NYPD Arrest Quotas, N.Y. Post, Feb. 15,.2011, at 6, available on
       Westlaw at 2011 WLNR 2986205; see also Oren Yaniv, Capt. Links Arrests, Evaluation of Cops, N.Y. Daily News, Feb. l5,
       2011, at 20, also available on Westlaw at 20 WLNR 2986205.
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                          officers were to make that violated plaintiffs constitutional rights and contributed
                          to her arrest."18
	  

                i.        The New York City Office of Collective Bargaining concluded that officers in
                          Brooklyn's 75th Precinct were required to issue four parking tickets, three moving
                          violation citations; three "quality-of-life" summonses, make one arrest and two
                          stop-and-frisks each month. Arbitrator Bonnie Siber Weinstock ruled that the
                          NYPD maintained an illegal "summons quota for traffic violations in the precinct
                          and by penalizing officers for failing to meet the stated number of traffic
                          citations.” She ordered the city to cease and desist from the practice.19
	  

                j.        Kieran Creighton, commander of the NYPD Housing Police Service Area 8 in the
                          northern Bronx, was investigated for ordering officers to make a certain number
                          of arrests each month. According to The New York Daily News:
	  

                                    The incident allegedly occurred in the spring when Creighton ordered at
                                    least eight members of an undercover anti-crime team to a meeting in
                                    Pelham Bay Park to berate them about an alleged lack of arrests, sources
                                    said.
	  

                                    'You can't make the nine collars a month, then we'll all have to go our
                                    separate ways,'' Creighton told the officers, according to an internal
                                    complaint obtained by The News. Anything less than nine arrests would
                                    be a ''personal slap in the face," Creighton allegedly said.
	  

                                    Creighton then told the cops to finagle the times of arrests so any overtime
                                    was paid for by a federally funded anti-drug program, the complaint states.
	  
                                    Unbeknownst to Creighton, one officer had his NYPD radio switched on
                                    so the captain's 10 to 12 minute speech was broadcast to Bronx precincts
                                    in Morrisania and Schuylerville and taped by the 911 dispatcher.20
	  



                67.       The existence of the aforesaid unconstitutional customs and practices, specifically

       with regard to the failure to supervise, train, instruct, and discipline police officers,

       encouraging their misconduct, and exhibiting deliberate indifference towards the
	  
	  
	  
	  
	  
	  
       18
          Oren Yaniv, Court rules that cops do use quotas; woman injured in 2006 arrest settles for $75,000, N.Y. Daily News. Feb. 19,
       2011; available at http://www.nydailynews.com/news/ny_crime/201 J/02119/2011-02.
       19
          New York City Ticket Quota Confirmed, Denied, The Newspaper.Com, January 21, 2006, available at
       http://www.thenewspaper.com/news/09/914.asp; see also, Kirsten Cole. NYPD's Bogus Little Secret: Parking ticket Quotas-
       Agents Often Caught Citing You For Violations You Didn't Commit; WCBSTV.com, August 14, 2007, available at
       http://wcbstv.com/topstories/parking.ticket.blitz.2.246533.html.
	  
       20
         Allison Gendar NYPD captain allegedly caught in arrest quota fixing, The New York Daily News, November 14, 2007,
       available at http://www.nydailynews.com/news/ny_crime/2007/11/14/214 _nypd_captain_allegedly_caught_in_arrest.
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       constitutional rights of persons with whom officers come into contact are further evidenced,
	  
       inter alia, by the following:
	  
	  
               a.       With respect to Fourth Amendment violations, in Ligon v. City of New York,
                        2013 WL 628534 (Feb. 14, 2013), Judge Scheindlin found that plaintiffs
                        challenging allegedly unconstitutional policies and practices of the NYPD had
                        shown “a clear likelihood of proving deliberate indifference under any of the
                        prevailing ways of framing that standard,” including failure to train and
                        constructive acquiescence.21 Judge Scheindlin specifically rejected the NYPD’s
                        argument that broad, general remedial measures taken in 2012, such as an
                        instructional video on stop and frisk, was meaningful action rebutting a finding of
                        deliberate indifference.
	  

               b.       The Report of the Commission to Investigate Allegations of Police Corruption
                        and the Anti-Corruption Procedures of the Police Department ("Mollen
                        Commission Report"), dated July 7, 1994, states:
	  

                        In the face of this problem [of corruption], the [NYPD] allowed its systems for
                        fighting corruption virtually to collapse. It has become more concerned about
                        the bad publicity that corruption disclosures generate than the devastating
                        consequences of corruption itself. As a result, its corruption control ignored
                        and at times concealed corruption rather than root it out. Such an institutional
                        reluctance to uncover corruption is not surprising. No institution wants its
                        reputations tainted - especially a Department that needs the public's confidence
                        and partnership to be effective. A weak and poorly resourced anti-corruption
                        apparatus minimizes the likelihood of such taint, embarrassment and potential
                        harm to careers. Thus there is a strong institutional incentive to allow
                        corruption efforts to fray and lose priority - which is exactly what the
                        Commission uncovered. This reluctance manifested itself in every component
                        of the Department's corruption controls from command accountability and
                        supervision, to investigations, police culture, training and recruitment. For at
                        least the past decade, the system designed to protect the Department from
                        corruption minimized the likelihood of uncovering it.22
	  
               c.       Accordingly, in 1990, the Office of the Special Prosecutor, which investigated
                        charges of police corruption, was abolished.
	  

               d.       In response to the Honorable Judge Weinstein's ruling of November 25, 2009 in
                        Colon v. City of New York, 09-CV-00008 (E.D.N.Y.), in which he noticed a
                        "widespread… custom or policy by the city approving illegal conduct'' such as
                        lying under oath and false swearing, NYPD Commissioner Raymond Kelly
	  
	  
	  
       21
        Id. at *34.
       22
        Mollen Commission Report, pp. 2-3, available at http://www.parc.info/client_files/Special%20Reports/4%20-
       %20Mollen%20Commissiono/%20-%20NYPD.pdf.
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                           acknowledged, "When it happens, it's not for personal gain. It's more for
                           convenience."23
	  

                 e.        In a recent instance, NYPD officer Lieutenant Daniel Sbarra was involved in 15
                           suits against the city resulting to date in over $1.5 million in settlement payments,
                           was the target of 5-10 Internal Affairs investigations, and was the subject of at
                           least 30 complaints filed with the Civilian Complaint Review Board. Not only
                           have Commissioner Kelly and the NYPD failed to meaningfully discipline or
                           control officer Sbarra – they promoted him to the rank of Lieutenant four months
                           after he lost 20 days of vacation upon pleading guilty to Internal Affairs charges
                           relating to an unconstitutional search. This shows, at best, deliberate indifference
                           towards the constitutional rights of citizens with whom Sbarra comes into contact,
                           and further demonstrates tacit approval, condonement, and/or encouragement of
                           unconstitutional policies, customs, and practices.24
	  

                 f.        Regarding defendant City's tacit condonement and failure to supervise, discipline
                           or provide remedial training when officers engage in excessive force, the Civilian
                           Complaint Review Board is a City agency, allegedly independent of the NYPD,
                           that is responsible for investigating and issuing findings on complaints of police
                           abuse and misconduct.25 When it does, however, Commissioner Kelly controls
                           whether the NYPD pursues the matter and he alone has the authority to impose
                           discipline on the subject officer(s). Since 2005, during Kelly's tenure, only one
                           quarter of officers whom the CCRB found engaged in misconduct received
                           punishment more severe than verbal ''instructions." Moreover, the number of
                           CCRB-substantiated cases that the NYPD has simply dropped (i.e., closed
                           without action or discipline) has spiked from less than 4% each year between
                           2002 and 2006, to 35% in 2007, and approximately 30% in 2008. Alarmingly, the
                           NYPD has refused to prosecute 40% of the cases sent to it by the CCRB in
                           2009.26 As a result, the percentage of cases where the CCRB found misconduct
                           but where the subject officers were given only verbal instructions or the matter
                           was simply dropped by he NYPD rose to 66% in 2007. Substantiated complaints
                           of excessive force against civilians accounted for more than 10% of the cases that
	  
	  
	  
	  
       23
          Loren Yaniv and John Marzuli, Kelly Shrugs Off Judge Who Slammed Cops, New York Daily News, December 2, 2009,
       available at http://www.nydailynews.com/news/crime/police-commissioner-kelly-shrugs-judge-slammed-cops-article-
       1.433710.
       24
          Rocco Parascandola et al, Repeated Charges of Illegal Searches, Violence, Racial Profiling, Racial Slurs and Intimidation Against
       Lt. Daniel Sbarra and his Team Have Cost the City More Than $1.5 Million in Settlements, N.Y. Daily News, May 19, 2013,
       available at http://www.nydailynews.com/new-york/brooklyn/lt-daniel-sbarra-team-finest-article-1.1348075.
       25
          In 2006, out of more than 10.000 allegations that were fully investigated, the CCRB substantiated only 594 (about
       6%). In 2007, out of more than 11,000 allegations that were fully investigated the CCRB substantiated only (about 5%).
       See, CCRB Jan.-Dec. 2007 status Report at p. 19, available at http://www.nyc.gov/html/ccrb/pdf/ccrbann2007_A.pdf.
       Upon information and belief, the low rate of substantiated complaints is due in part to the above-noted de facto policy
       and/or well-settled and widespread custom and practice in the NYPD whereby officers refuse to report other officers'
       misconduct or tell false and/or incomplete stories inter alia sworn testimony and statements given to the CCRB, to
       cover-up civil rights violations perpetrate by themselves or fellow officers, supervisors and/or subordinates.
       26
          Christine Hauser, Few Results for Reports of Police Misconduct, New York Times, October 5, 2009 at A19.
	  
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                         2008.27
	  

                68.       The existence of the aforesaid unconstitutional customs and practices, specifically

       with regard to the practice or custom of discouraging police officers from reporting the

       corrupt or unlawful practices of other police officers and of retaliating against officers who

       report misconduct, are further evidenced, inter alia, by the following:
	  
	  
                a.       In a suit filed in 2012, Officer Craig Matthews alleged that he was systematically
                         retaliated against for speaking to his precinct commanders about the pressure that
                         the NYPD’s illegal quota system placed on officers.28
	  

                b.       In Griffin v. City of New York, 880 F. Supp.2d 384 (E.D.N.Y. 2012), Judge
                         Dearie denied the city’s motion to dismiss retaliation claims against a former
                         NYPD detective who, after reporting a fellow officer’s misconduct to the NYPD
                         Internal Affairs Bureau, found the word “rat” written multiple times on his locker
                         and faced other repercussions from fellow police officers that his supervisors
                         failed to address.29
	  

                c.       Former New York County District Attorney Robert Morgenthau has been quoted
                         as acknowledging that, in the NYPD, there is a "code of silence," or a "code of
                         protection" that exists among officers and that is followed carefully;
	  

                d.       In 1985, former NYPD Commissioner Benjamin Ward, testifying before a State
                         Senate Committee, acknowledged the existence of the "code of silence" in the
                         NYPD;
	  

                e.       Former NYPD Commissioner Robert Daly wrote in 1991 that the "blue wall of
                         solidarity with its macho mores and prejudices, its cover-ups and silence is
                         reinforced every day in every way."
	  

                69.      The existence of the above-described de facto unlawful policies and/or well-

       settled and widespread customs and practices is known to, encouraged and/or condoned by
	  
	  
	  
	  
	  
       27
          Daily News, Editorial: City Leaders Must Get Serious About Policing the Police, August 20, 2008.
       28
          Al Baker, Bronx Police Precinct Accused of Using Quota System, N.Y. Times, Feb. 24, 2012, available at
       http://www.nytimes.com/2012/02/24/nyregion/lawsuit-says-bronx-police-precinct-uses-quota-system.html?_r=0.
       29
          Id at 389-92. See also Joseph Goldstein, Officers, Exhorted to Report Corruption, Still Fear Retaliation, N.Y. Times,
       June 25, 2012, available at http://www.nytimes.com/2012/06/25/nyregion/new-york-police-officers-face-retaliation-
       for-reporting-corruption.html?partner=rss&emc=rss&pagewanted=all.
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       supervisory and policy-making officers and officials of the NYPD and the City, including

       without limitation, Commissioner Kelly.
	  
              70.       The actions of Defendants, resulting from and taken pursuant to the above-

       mentioned de facto policies and/or well-settled and widespread customs and practices of the

       City, are implemented by members of the NYPD engaging in systematic and ubiquitous perjury,

       both oral and written, to cover up federal law violations committed against civilians by either

       themselves or their fellow officers, supervisors and/or subordinates.         They do so with the

       knowledge and approval of their supervisors, commanders and Commissioner Kelly who all: (i)

       tacitly accept and encourage a code of silence wherein police officers refuse to report other

       officers' misconduct or tell false and/or incomplete stories, inter alia, in sworn testimony, official

       reports, in statements to the CCRB and the Internal Affairs Bureau ("IAB"), and in public

       statements designed to cover for and/or falsely exonerate accused police officers; and (ii)

       encourage and, in the absence of video evidence blatantly exposing the officers' perjury, fail to

       discipline officers for ''testilying" and/or fabricating false evidence to initiate and continue the

       malicious prosecution of civilians in order to cover-up civil rights violations perpetrated by

       themselves, fellow office supervisors and/or subordinates against those civilians.
	  
              71.     All of the foregoing acts by defendants deprived Plaintiff of her federally

       protected rights, including, but limited to, the constitutional rights enumerated herein.
	  
              72.      Defendant City knew or should have known that the acts alleged herein would

       deprive Plaintiff of her rights under the Fourth, Fifth and Fourteenth Amendments to the United

       States Constitution.
	  
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              73.     Defendant City is directly liable and responsible for the acts of Defendants, as it
	  
       repeatedly and knowingly failed to properly supervise, train, instruct, and discipline them and

       because it repeatedly and knowingly failed to enforce the rules and regulations of the City and

       NYPD, and to require compliance with the Constitution and laws of the United States.
	  
              74.      Despite knowledge of such unlawful de facto policies, practices, and/or customs,

       these supervisory and policy-making officers and officials of the NYPD and the City, including

       Commissioner Kelly, have not taken steps to terminate these policies, practices and/or customs,

       do not discipline individuals who engage in such polices, practices and/or customs, or otherwise

       properly train police officers with regard to the constitutional and statutory limits on the exercise

       of their authority, and instead approve and ratify these policies, practices and/or customs through

       their active encouragement of, deliberate indifference to and/or reckless disregard of the effects

       of said policies, practices and/or customs or the constitutional rights of persons in the City of

       New York.
	  
              75.     The aforementioned City policies, practices and/or customs of failing to

       supervise, train, instruct and discipline police officers and encouraging their misconduct are

       evidenced by the police misconduct detailed herein. Specifically, pursuant to the aforementioned

       City policies, practices and/or customs, Defendants felt empowered to arrest Plaintiff without

       probable cause and then fabricate and swear to a false story to cover up their blatant violations of

       Plaintiffs’ constitutional rights. Pursuant to the aforementioned City policies, practices and/or

       customs, the officers failed to intervene in or report Defendants’ violations of Plaintiff’s rights.
	  
              76.      Plaintiff’s injuries were a direct and proximate result of the defendant City and

       the NYPD’s wrongful de facto policies and/or well-settled and widespread customs and practices
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       and of the knowing and repeated failure of the defendant City and the NYPD to properly

       supervise, train and discipline their police officers.
	  
              77.        As a result of the foregoing, Plaintiff was deprived of her liberty, endured

       psychological and emotional injury, humiliation, costs and expenses and suffered other damages

       and injuries.
	  




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                                         PRAYER FOR RELIEF
	  
	  
             WHEREFORE, plaintiff respectfully requests judgment against defendants as follows:

             (a) Compensatory damages against all defendants, jointly and severally;

             (b) Punitive damages against the individual defendants, jointly and severally;

             (c) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

             (d) Such other and further relief as this Court deems just and proper.
	  
	  
	  
       DATED:       May 30, 2014
                    New York, New York
	  
	  
	  
	  
                                                              /s/
                                                   Robert Marinelli
                                                   299 Broadway, Suite 1501
                                                   New York, New York 10007
                                                   (212) 822-1427
	  
                                                   Attorney for plaintiff
